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                                            UNITED STATES DISTRICT COURT
                                        FOR THE WESTERN DISTRICT OF MICHIGAN

                            KOLU STEVENS;
                            PATRICK GREENHOE; and                            Case No.: 18-cv-757
                            CLAUDETTE GREENHOE;                            Honorable Paul L. Maloney
                                Plaintiffs,
                                                                                    REPLY
                                 v.

                            MILTON L. MACK, JR., in his official
                            capacity as the Administrator of the
                            Michigan State Court Administrative
                            Office; KIM B. MEAD, in his official
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                            capacity as Bay County Probate Court
                            Administrator; WILLIAM M.
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                            HEFFERAN, in his official capacity as
                            Antrim County Circuit Court – Family
                            Division Administrator,
                                  Defendants
                                                                    /

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                                PLAINTIFFS’ REPLY IN SUPPORT OF MOTION TO “EXCLUDE”
                               EXHIBITS ATTACHED TO DEFENDANTS’ MOTIONS TO DISMISS

                                  NOW COMES Plaintiffs KOLU STEVENS, PATRICK GREENHOE,

                            and CLAUDETTE GREENHOE, by counsel, and offers this short reply in

                            support of seeking to “exclude” the offending exhibits attached to

                            Defendants’ various motions to dismiss filed pursuant to Fed.R.Civ.P.

                            12(b)(6). See Fed.R.Civ.P. 12(d); see also ECF Nos. 13, 14, and 16.

                                  The arguments of all defendants as to the ability to attach extraneous
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                            exhibits violate the standard opined at Bassett v. National Collegiate Athletic
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                            Ass’n, 528 F.3d 426, 430 (6th Cir. 2008) and Amini v. Oberlin Coll., 259 F.3d

                            493, 502 (6th Cir. 2001). See also Gavitt v. Born, 835 F.3d 623, 640 (6th Cir.

                            2016). The standard requires the proposed document-exhibit must both 1.)

                            be referred to in the Complaint and b.) are central to the claims contained

                            therein. Bassett, supra, at 430. The main error of Defendants is their implied

                            assertion that the exhibits must only be ‘related to the issues’ raised the

                            complaint, instead of “the exhibit” being “referred to” in the Complaint. See

                            ECF No. 26, PageID# 353; ECF No. 25, PageID# 343. That is not the

                            standard; their argument fails.

                                  Nevertheless, Plaintiffs also do not dispute the if the Court desires to

                            consider any of the various Rule 12 motions as Rule 56 motions, it can

                            convert the same by using the process outlined in Rule 12(d). But the issue

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                            is not whether it can but rather if it should. However, at this postural posture,

                            invoking that conversion is improper. This is because “summary judgment

                            should not ordinarily be granted before discovery has been completed,” and

                            “this principle is particularly strong [when] constitutional and civil rights

                            claims are at issue.” Tarleton v. Meharry Medical College, 717 F.2d 1523,

                            1535 (6th Cir. 1983) (emphasis added). Obviously, this instant case is both

                            a constitutional and civil rights case. ECF No. 2. Moreover, discovery has
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                            not even started, let alone been completed. This Court should decline to
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                            invoke Rule 12(d) at this point and instead allow the parties to build a proper

                            and full record for this Court to rule upon the arguments under the First

                            Amendment.1 See Hsu v. Puma Biotechnology, Inc., 213 F.Supp.3d 1275,

                            1282 (C.D. Cal. 2016) (Attaching exhibits to Rule 12(b)(6) motions is

                            “troubling in the common situation of asymmetry, where a defendant starts

                            off with sole possession of the information about the alleged wrongdoing.”).




                                  1   This is especially true in this case because Defendant Mack is still highly
                            confused about and/or misunderstanding what this lawsuit is seeking to do. See ECF No.
                            27, PageID #358-359 (Defendant Mack incorrectly asserting “the logical implications of a
                            request to verify the transcript of a state court proceeding is a subsequent appeal of or
                            collateral attack on that proceeding.”). He seems to think this federal case is directly
                            attacking a state court judgment and it expressly is not. See Skinner v. Switzer, 131 S.
                            Ct. 1289 (2011).

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                            Date: October 10, 2018               RESPECTFULLY SUBMITTED:

                                                                 /s/ Philip L. Ellison
                                                                 OUTSIDE LEGAL COUNSEL PLC
                                                                 PHILIP L. ELLISON (P74117)
                                                                 Counsel for Plaintiffs
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                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                            Date: October 10, 2018                 RESPECTFULLY SUBMITTED:

                                                                   /s/ Philip L. Ellison
                                                                   OUTSIDE LEGAL COUNSEL PLC
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                                                                   PHILIP L. ELLISON (P74117)
                                                                   Counsel for Plaintiffs
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